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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

 JOHN KRISTENSEN,                           Case No.:
 individually, and on behalf of all
 others similarly situated,                 CLASS ACTION
               Plaintiff,                   COMPLAINT FOR DAMAGES
                                            AND INJUNCTIVE RELIEF
                       v.                   PURSUANT TO THE TELEPHONE
                                            CONSUMER PROTECTION ACT,
 RESEARCH AMERICA, INC.,                    47 U.S.C. § 227, ET SEQ.
 and DOES 1 through 10, inclusive,          JURY TRIAL DEMANDED
              Defendant.

                                      INTRODUCTION
      1.     JOHN KRISTENSEN (“Plaintiff”) bring this Class Action Complaint
for damages, injunctive relief, and any other available legal or equitable remedies,
resulting from the illegal actions of RESEARCH AMERICA, INC. (“Defendant”),
in negligently contacting Plaintiff on Plaintiff’s cellular telephone, in violation of
the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby
invading Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge
as to himself and his own acts and experiences, and, as to all other matters, upon
information and belief, including investigation conducted by their attorneys.

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      2.     The TCPA was designed to prevent calls and messages like the ones
described within this complaint, and to protect the privacy of citizens like Plaintiff.
“Voluminous consumer complaints about abuses of telephone technology – for
example, computerized calls dispatched to private homes – prompted Congress to
pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
      3.     In enacting the TCPA, Congress intended to give consumers a choice
as to how creditors and telemarketers may call them, and made specific findings that
“[t]echnologies that might allow consumers to avoid receiving such calls are not
universally available, are costly, are unlikely to be enforced, or place an inordinate
burden on the consumer. TCPA, Pub.L. No. 102–243, § 11. Toward this end,
Congress found that

             [b]anning such automated or prerecorded telephone calls to the home,
             except when the receiving party consents to receiving the call or when
             such calls are necessary in an emergency situation affecting the health
             and safety of the consumer, is the only effective means of protecting
             telephone consumers from this nuisance and privacy invasion.

Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s
purpose).
      4.     Congress also specifically found that “the evidence presented to the
Congress indicates that automated or prerecorded calls are a nuisance and an
invasion of privacy, regardless of the type of call….” Id. at §§ 12-13. See also, Mims,
132 S. Ct. at 744.
      5.     As Judge Easterbrook of the Seventh Circuit recently explained in a
TCPA case regarding calls to a non-debtor similar to this one:

             The Telephone Consumer Protection Act is well known for its
             provisions limiting junk-fax transmissions. A less-litigated part of the
             Act curtails the use of automated dialers and prerecorded messages to
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             cell phones, whose subscribers often are billed by the minute as soon
             as the call is answered—and routing a call to voicemail counts as
             answering the call. An automated call to a landline phone can be an
             annoyance; an automated call to a cell phone adds expense to
             annoyance.

      Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
      6.     The Ninth Circuit recently affirmed certification of a TCPA class case
remarkably similar to this one in Meyer v. Portfolio Recovery Associates, LLC, __
F.3d__, 2012 WL 4840814 (9th Cir. Oct. 12, 2012).
                                 JURISDICTION AND VENUE
      7.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a
resident of California, seeks relief on behalf of a Class, which will result in at least
one class member belonging to a different state than that of Defendant, a
Pennsylvania corporation, doing business within and throughout California.
Plaintiff also seeks $1,500.00 in damages for each call in violation of the TCPA,
which, when aggregated among a proposed class in the thousands, exceeds the
$5,000,000.00 threshold for federal court jurisdiction. Therefore, both diversity
jurisdiction and the damages threshold under the Class Action Fairness Act of 2005
(“CAFA”) are present, and this Court has jurisdiction.
      8.     Venue is proper in the United States District Court for the Central
District of California pursuant to 28 U.S.C. § 1391(b)(1) because Defendant is
subject to personal jurisdiction in the County of Los Angeles, State of California.
                                           PARTIES
      9.     Plaintiff is, and at all times mentioned herein was, a natural person and
citizen and resident of the State of California. Plaintiff is, and at all times mentioned
herein was, a “person” as defined by 47 U.S.C. § 153(39).
      10.    Defendant is, and at all times mentioned herein was, a marketing
research company, and is therefore a “person” as defined by 47 U.S.C. § 153(39).


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      11.    The above named Defendant, and its subsidiaries and agents, are
collectively referred to as “Defendants.” The true names and capacities of the
Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
names. Each of the Defendants designated herein as a DOE is legally responsible
for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
Complaint to reflect the true names and capacities of the DOE Defendants when
such identities become known.
      12.    Plaintiff is informed and believes that at all relevant times, each and
every Defendant was acting as an agent and/or employee of each of the other
Defendants and was acting within the course and scope of said agency and/or
employment with the full knowledge and consent of each of the other Defendants.
Plaintiff is informed and believes that each of the acts and/or omissions complained
of herein was made known to, and ratified by, each of the other Defendants.
                              FACTUAL ALLEGATIONS
      13.    At all times relevant, Plaintiff was a citizen of the County of Los
Angeles, State of California. Plaintiff is, and at all times mentioned herein was, a
“person” as defined by 47 U.S.C. § 153(39).
      14.    Defendant is, and at all times mentioned herein was, a “person,” as
defined by 47 U.S.C. § 153(39).
      15.    At all times relevant Defendant conducted business in the State of
California and in the County of Los Angeles, within this judicial district.
      16.    In or about May of 2018, Plaintiff received an unsolicited text message
from Defendant on his cellular telephone, number ending in -9711.
      17.    During this time, Defendant began to use Plaintiff’s cellular telephone
for the purpose of sending Plaintiff research gathering surveys, via text messages,
including a text message sent to and received by Plaintiff on or about May 6, 2018
from Defendant’s phone number, (916) 438-9641.
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      18.    On May 6, 2018, Plaintiff received a text from Defendant that read:
                    California Opinion Research is
                    doing a 2 minute voter survey
                    regarding issues in CA. Please
                    click the link.
      19.    This text message placed to Plaintiff’s cellular telephone were placed
via Defendant’s SMS Blasting Platform, i.e., an “automatic telephone dialing
system,” (“ATDS”) as defined by 47 U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C.
§ 227 (b)(1)(A).
      20.    The telephone number that Defendant, or their agent, called was
assigned to a cellular telephone service for which Plaintiff incurs a charge for
incoming calls pursuant to 47 U.S.C. § 227 (b)(1).
      21.    These telephone calls constituted calls that were not for emergency
purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
      22.    Plaintiff was never a customer of Defendant’s and never provided his
cellular telephone number Defendant for any reason whatsoever. Accordingly,
Defendant and their agent never received Plaintiff’s prior express consent to receive
unsolicited text messages, pursuant to 47 U.S.C. § 227 (b)(1)(A).
      23.    These telephone calls by Defendant, or its agents, violated 47 U.S.C. §
227(b)(1).
                           CLASS ACTION ALLEGATIONS
      24.    Plaintiff brings this action on behalf of himself and on behalf of and all
others similarly situated (“the Class”).
      25.    Plaintiff represents, and is a member of, the Class, consisting of all
persons within the United States who received any unsolicited text messages from
Defendant which text message was not made for emergency purposes or with the
recipient’s prior express consent within the four years prior to the filing of this
Complaint.
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      26.    Defendant and their employees or agents are excluded from the Class.
Plaintiff does not know the number of members in the Class, but believes the Class
members number in the hundreds of thousands, if not more. Thus, this matter should
be certified as a Class action to assist in the expeditious litigation of this matter.
      27.    Plaintiff and members of the Class were harmed by the acts of
Defendant in at least the following ways: Defendant, either directly or through their
agents, illegally contacted Plaintiff and the Class members via their cellular
telephones by using marketing research surveys and text messages, thereby causing
Plaintiff and the Class members to incur certain cellular telephone charges or reduce
cellular telephone time for which Plaintiff and the Class members previously paid,
and invading the privacy of said Plaintiff and the Class members. Plaintiff and the
Class members were damaged thereby.
      28.    This suit seeks only damages and injunctive relief for recovery of
economic injury on behalf of the Class, and it expressly is not intended to request
any recovery for personal injury and claims related thereto. Plaintiff reserves the
right to expand the Class definition to seek recovery on behalf of additional persons
as warranted as facts are learned in further investigation and discovery.
      29.    The joinder of the Class members is impractical and the disposition of
their claims in the Class action will provide substantial benefits both to the parties
and to the court. The Class can be identified through Defendant’s records or
Defendant’s agent’s records.
      30.    There is a well-defined community of interest in the questions of law
and fact involved affecting the parties to be represented. The questions of law and
fact to the Class predominate over questions which may affect individual Class
members, including the following:
       a)    Whether, within the four years prior to the filing of this Complaint,
             Defendant or their agents sent any text messages to the Class (other
             than a message made for emergency purposes or made with the prior
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                express consent of the called party) to a Class member using any
                automatic dialing system to any telephone number assigned to a cellular
                phone service;
       b)       Whether Plaintiff and the Class members were damaged thereby, and
                the extent of damages for such violation; and
       c)       Whether Defendant and their agents should be enjoined from engaging
                in such conduct in the future.
      31.       As a person that received at least one marketing research survey and
text message without Plaintiff’s prior express consent, Plaintiff is asserting claims
that are typical of the Class. Plaintiff will fairly and adequately represent and protect
the interests of the Class in that Plaintiff has no interests antagonistic to any member
of the Class.
      32.       Plaintiff and the members of the Class have all suffered irreparable
harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
action, the Class will continue to face the potential for irreparable harm. In addition,
these violations of law will be allowed to proceed without remedy and Defendant
will likely continue such illegal conduct. Because of the size of the individual Class
member’s claims, few, if any, Class members could afford to seek legal redress for
the wrongs complained of herein.
      33.       Plaintiff has retained counsel experienced in handling class action
claims and claims involving violations of the Telephone Consumer Protection Act.
      34.       A class action is a superior method for the fair and efficient adjudication
of this controversy. Class-wide damages are essential to induce Defendant to
comply with federal and California law.            The interest of Class members in
individually controlling the prosecution of separate claims against Defendant are
small because the maximum statutory damages in an individual action for violation
of privacy are minimal. Management of these claims is likely to present significantly
fewer difficulties than those presented in many class claims.
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       35.   Defendant has acted on grounds generally applicable to the Class,
thereby making appropriate final injunctive relief and corresponding declaratory
relief with respect to the Class as a whole.
                              FIRST CAUSE OF ACTION
  NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                              47 U.S.C. § 227 ET SEQ.
       36.   Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
       37.   The foregoing acts and omissions of Defendant constitute numerous
and multiple negligent violations of the TCPA, including but not limited to each and
every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
       38.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
seq, Plaintiff and The Class are entitled to an award of $500.00 in statutory damages,
for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
       39.   Plaintiff and the Class are also entitled to and seek injunctive relief
prohibiting such conduct in the future.
                            SECOND CAUSE OF ACTION
                 KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                    TELEPHONE CONSUMER PROTECTION ACT
                              47 U.S.C. § 227 ET SEQ.
       40.   Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
       41.   The foregoing acts and omissions of Defendant constitute numerous
and multiple knowing and/or willful violations of the TCPA, including but not
limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
seq.
       42.   As a result of Defendant’s knowing and/or willful violations of 47
U.S.C. § 227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00 in
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statutory damages, for each and every violation, pursuant to 47 U.S.C. §
227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
      43.    Plaintiff and the Class are also entitled to and seek injunctive relief
prohibiting such conduct in the future.
                                  PRAYER FOR RELIEF
      Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and The
Class members the following relief against Defendant:
            FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                         THE TCPA, 47 U.S.C. § 227 ET SEQ.

       As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
         Plaintiff seeks for himself and each Class member $500.00 in statutory
         damages, for each and every violation, pursuant to 47 U.S.C. §
         227(b)(3)(B).
       Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
         conduct in the future.
       Any other relief the Court may deem just and proper.
            SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                         THE TCPA, 47 U.S.C. § 227 ET SEQ.

       As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
         Plaintiff seeks for himself and each Class member $1500.00 in statutory
         damages, for each and every violation, pursuant to 47 U.S.C. §
         227(b)(3)(B).
       Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
         conduct in the future.
       Any other relief the Court may deem just and proper.
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                                    TRIAL BY JURY
       44.    Pursuant to the seventh amendment to the Constitution of the United
 States of America, Plaintiff is entitled to, and demands, a trial by jury.



 Dated: August 24, 2018                                Respectfully submitted,


                                     THE LAW OFFICES OF TODD M. FRIEDMAN, P.C.


                                                             By: /s/ Todd M. Friedman
                                                             TODD M. FRIEDMAN, ESQ.
                                                             ATTORNEY FOR PLAINTIFF




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